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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                           CRIMINAL CASE NO.: 9:22-MJ-08332-BER-1

  UNITED STATES OF AMERICA,

  vs.

  SEALED SEARCH WARRANT,

  __________________________/

      THE PALM BEACH POST’S MOTION TO INTERVENE FOR THE LIMITED
    PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT COURT RECORDS

         The Palm Beach Post (“The Post” or “Intervenor”), a newspaper owned and operated by

  Gannett Co., Inc., moves to intervene in this proceeding for the limited purpose of obtaining access

  to all documents filed with this Court related to the search warrant executed on Monday, August

  8, 2022, at former President Donald J. Trump’s Mar-a-Lago Palm Beach, Florida club and

  residence (the “Search Warrant Records”), and also to oppose any attempts to limit public access

  to the court records and court hearings associated with this proceeding. The requested Search

  Warrant Records include, without limitation: (1) the search warrant; (2) the search warrant

  application; 3) any probable cause affidavit filed in support of the search warrant application; (4)

  any search warrant return, including any inventory or receipt identifying property seized pursuant

  to the execution of the warrant; (5) any motion to seal any part of the Search Warrant Records;

  and (6) any order granting or denying a motion to seal any part of the Search Warrant Records.

  The grounds for this relief are as follows:

         1. The Post is a newspaper of general circulation in Palm Beach County and surrounding

  Counties    and   distributes   news    over    the   Internet   via   the   commercial     website

  www.palmbeachpost.com.

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            2.    The Post has covered the news about Donald J. Trump for decades, including his

  immersion in a vast number of public controversies and disputes, arising not only from his term as

  President of the United States, but also from virtually every other facet of his business, social, and

  political life. To carry out its newsgathering activities, The Post relies upon court records and

  other public records as principal sources of information. The Post desires to continue reporting to

  its readers on the many newsworthy events surrounding Mr. Trump who, according to news

  reports, is contemplating making another run for the Presidency.1

            3.    The Post has standing to intervene in this proceeding for the limited purpose of

  protecting public access to the records and events associated with this proceeding. Newman v.

  Graddick, 696 F.2d 796, 800 (11th Cir. 1983).

            4.    The Post adopts and incorporates by reference herein the arguments set forth by the

  New York Times Company in its Motion to Intervene for the Limited Purpose of Obtaining Access

  to Search Warrant Records and Supporting Memorandum of Law, filed herein on August 10, 2022.

  [DE 8].

            WHEREFORE, The Post respectfully requests that it be permitted to intervene in this

  proceeding for the limited purpose of obtaining access to the Search Warrant Records, and to

  oppose any attempts to limit public access to the public records related to this judicial proceeding.




  1
          See, e.g., Fin Gómez, Robert Costa, CBS News, Trump told allies he's considering
  announcing 2024 presidential bid early, sources say, July 6, 2022, available at
  https://www.cbsnews.com/sanfrancisco/news/trump-2024-presidential-campaign-announcement-
  summer/; Dennis Aftergut, NBC News, Why an FBI search won’t stop Trump from running in
  2024 – and might encourage him, August 8, 2022, 9:42 PM, available at
  https://www.nbcnews.com/think/opinion/trump-fbi-raid-fuel-2024-presidential-campaign-
  rcna42098; Haris Alic, FOX News, FBI raid on Mar-a-Lago could boost Trump's 2024 White
  House run, say strategists, available at https://www.foxnews.com/politics/fbi-raid-rallies-gop-
  around-trump-overshadows-bidens-policy-wins.
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  Dated: August 12, 2022.                       Respectfully submitted,

                                                ATHERTON GALARDI MULLEN
                                                & REEDER PLLC

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                                                Post


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 12, 2022, a true and correct copy of the foregoing

  document was electronically filed and will be furnished via CM/ECF. A copy of the foregoing is

  also being served by email and first-class mail, postage paid, to:

  Juan Antonio Gonzalez
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